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     (509) 454-4425          UNITED STATES DISTRICT COURT
 5
                     FOR THE EASTERN DISTRICT OF WASHINGTON
 6
     UNITED STATES OF AMERICA,                     NO: 1:21-CR-02032-SMJ
 7

 8                               Plaintiff,        MOTION FOR DETENTION
 9
                    vs.
10
     THOMAS ALEX MORRISON, JR
11
                      Defendant.
12

13        The United States moves for pretrial detention of Defendant, pursuant to 18
14 U.S.C. § 3142(e) and (f).

15
          1.    Eligibility of Case. This case is eligible for a detention order because
                the case involves (check one or more):
16
                      Crime of violence (as defined in 18 U.S.C. § 3156(a)(4) which
17
                      includes any felony under Chapter 109A, 110 and 117),
18
                      Maximum penalty of life imprisonment or death,
19
                      Drug offense with maximum penalty of 10 years or more,
20                    Felony, with two prior convictions in above categories,
21                    Felony that involves a minor victim or that involves the
22                    possession or use of a firearm or destructive device (as those
23                    terms are defined in section 921), or any other dangerous
24                    weapon, or involves a failure to register under 18 U.S.C.
25                    Section 2250,

26
                      Serious risk Defendant will flee, or
                      Serious risk obstruction of justice.
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 1       2.     Reason For Detention. The Court should detain Defendant
 2              because there is no condition or combination of conditions which
                will reasonably assure (check one or both):
 3
                       Defendant's appearance as required, or
 4
                       Safety of any other person and the community.
 5
         3.     Rebuttable Presumption. The United States will invoke the rebuttable
 6
                presumption against Defendant under Section 3142(e). The presumption
 7
                applies because there is probable cause to believe Defendant committed:
 8                    Drug offense with maximum penalty of 10 years or more,
 9                    An offense under section 924(c), 956(a), or 2332b,
10                    An offense listed in section 2332b (g)(5)(B) of Title 18 United
11                    States Code for which a maximum term of imprisonment of 10
12                    years or more is prescribed,
13                    An offense under chapter 77 of Title 18 United States Code,
                      for which a maximum term of imprisonment of 20 years or more
14
                      is prescribed,
15
                      An offense involving a minor victim under Section 1201, 1591,
16
                      2241, 2242, 2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2),
17
                      2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
18
                      2260, 2421, 2422, 2423, or 2425 of Title 18 United States Code,
19                    Other Circumstance as defined in Section 3142(e)(2).
20       4.     Time For Detention Hearing. The United States requests the Court
21              conduct the detention hearing:
22                     At the first appearance, or
23                     After a continuance of three days.
24       5.     Other Matters.

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     Dated this 1st day of September, 2021        S/Michael  D. Murphy
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                                                  Michael D. Murphy
27                                                Assistant United States Attorney
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